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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ST. PAUL FIRE AND MARINE                     §
INSURANCE COMPANY,                           §
                                             §
               Plaintiff,                    §
                                             §                  Civil Action No.
v.                                           §
                                             §                  H-05- 3811
THEODORE F. LABUZAN                          §
                                             §
               Defendant.                    §

                                      FINAL JUDGMENT

       ON THIS DATE the Court considered the above-styled matter. Pursuant to an agreement

of the parties, St. Paul Fire and Marine Insurance Company shall recover from and against

Theodore F. Labuzan as guarantor of bonds issued on behalf of Contractor Technology, Ltd., as

follows:

       a)      Damages:       $5,000.000.00; and

       b)      Post-judgment interest at the rate of 1.54% per annum.

Any and all claims of Theodore F. Labuzan against St. Paul Fire and Marine Insurance Company

are hereby dismissed with prejudice to the refilling of same.

       This is a Final Judgment

       SIGNED and ENTERED this 5th day of April, 2010.


                                             ___________________________________
                                             Kenneth M. Hoyt
                                             United States District Judge
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AGREED:

LANGLEY WEINSTEIN HAMEL LLP


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